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                                                              13
                                                              14   Attorneys for Plaintiff/Counter-Defendant
                                                                   BOARDRIDERS, INC.
                                                              15
                                                              16                        UNITED STATES DISTRICT COURT
                                                              17                       CENTRAL DISTRICT OF CALIFORNIA
                                                              18                                SOUTHERN DIVISION
                                                              19
                                                              20   BOARDRIDERS, INC.,                           Case No.: 8:21-cv-01260-JLS-JDE
                                                              21
                                                                               Plaintiff/Counter-Defendant, ANSWER AND AFFIRMATIVE
                                                              22                                            DEFENSES TO GREAT AMERICAN
                                                              23         v.                                 INSURANCE COMPANY’S
                                                                                                            COUNTERCLAIMS TO COMPLAINT
                                                              24
                                                              25   GREAT AMERICAN INSURANCE                     JURY TRIAL DEMANDED
                                                                   COMPANY,
                                                              26                                                Judge:   Hon. Josephine L. Staton
                                                              27               Defendant/Counter-
                                                                               Claimant.                        Complaint filed: July 26, 2021
                                                              28

                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1         Plaintiff/Counter-Defendant Boardriders, Inc. (“Boardriders”), by counsel, states
                                                               2   as follows for its Answer to Defendant/Counter-Claimant Great American Insurance
                                                               3   Company’s (“GAIC”) Counterclaim:
                                                               4                    INTRODUCTION/NATURE OF THE ACTION
                                                               5         1.     Boardriders admits that GAIC alleges in Paragraph 1 of the Counterclaim
                                                               6   that it seeks a declaration concerning the rights and obligations of the parties under an
                                                               7   insurance policy GAIC issued to Quiksilver, Inc., n/k/a Boardriders, for the January 15,
                                                               8   2017 to January 15, 2020 policy period (“Policy”). Boardriders admits that GAIC has
                                                               9   made some payments to Boardriders in connection with an October 2019 cyber-attack
                                                              10   (“Cyber Incident”), Boardriders denies the remaining allegations in Paragraph 1 and
                                                              11   further avers that the payments made are for an amount less than Boardriders’ submitted
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                                                              12   and covered losses.
                                                              13         2.     Boardriders admits that GAIC alleges in Paragraph 2 of the Counterclaim
                                                              14   that GAIC seeks a declaration from the Court. Boardriders denies the remaining
                                                              15   allegations in Paragraph 2.
                                                              16         3.     Boardriders admits that it seeks coverage under the Policy for, among other
                                                              17   things, Business Interruption Loss (“BI Loss”) it sustained after the Cyber Incident
                                                              18   encrypted the majority of its computer systems worldwide. Boardriders admits that
                                                              19   GAIC made partial payments to Boardriders for Boardriders’ claimed BI Loss.
                                                              20   Boardriders denies the remaining allegations in Paragraph 3, including, but not limited
                                                              21   to specifically denying that GAIC made those payments subject to a right to seek
                                                              22   recoupment of those payments or that GAIC had any such right to seek recoupment of
                                                              23   amounts paid.
                                                              24         4.     Boardriders denies the allegations in Paragraph 4.
                                                              25         5.     Boardriders denies the allegations in Paragraph 5.
                                                              26         6.     Boardriders denies the allegations in Paragraph 6.
                                                              27         7.     Boardriders denies the allegations in Paragraph 7.
                                                              28
                                                                                                              1
                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1                                      THE PARTIES
                                                               2         8.     Boardriders admits the allegations in Paragraph 8.
                                                               3         9.     Boardriders admits the allegations in Paragraph 9.
                                                               4                             JURISDICTION AND VENUE
                                                               5         10.    Boardriders admits the allegations in Paragraph 10.
                                                               6         11.    Boardriders admits the allegations in Paragraph 11.
                                                               7                               FACTUAL BACKGROUND
                                                               8         A.     The Cyber Incident
                                                               9         12.    Boardriders admits the allegations in Paragraph 12.
                                                              10         13.    Boardriders admits only that it discovered a message demanding 2,600
                                                              11   bitcoin (approximately $25 million at the time) in exchange for decryption keys.
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                                                              12   Boardriders denies the remaining allegations in Paragraph 13.
                                                              13         14.    The allegations in Paragraph 14 of the Counterclaim discuss confidential
                                                              14   information that should not be in a publicly-filed pleading. On that ground, and to
                                                              15   preserve confidentiality, Boardriders denies the allegations in Paragraph 14.
                                                              16         15.    Boardriders admits that, as a result of the Cyber Incident, it sustained
                                                              17   substantial losses, including millions of dollars in BI Loss for the “Legacy Billabong”
                                                              18   division of the company; millions of dollars in BI Loss for the “Legacy Boardriders”
                                                              19   division of the company; and millions of dollars in fees and expenses of Boardriders’
                                                              20   retained security and information technology consultants and vendors, costs to rebuild
                                                              21   and recreate data and replace impacted hardware, and other related “Additional
                                                              22   Expenses” arising out of the Cyber Incident (“IT Costs”). The remaining allegations in
                                                              23   Paragraph 15 are denied. Boardriders further asserts that GAIC’s footnote 1 is not a
                                                              24   factual allegation and thus requires no response, however to the extent it does, it is
                                                              25   denied.
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1         B.     The Policy
                                                               2         16.    Boardriders admits the allegations in Paragraph 16. The footnote
                                                               3   associated with Paragraph 16 does not contain factual allegations for which a response
                                                               4   is necessary, however to the extent it does, those are denied.
                                                               5         17.    The allegations in Paragraph 17 of the Counterclaim purport to
                                                               6   characterize the terms of the Policy, which is the best evidence of its content.
                                                               7   Boardriders denies the remaining allegations and characterizations in Paragraph 17.
                                                               8         18.    The allegations in Paragraph 18 of the Counterclaim purport to
                                                               9   characterize the terms of the Policy, which is the best evidence of its content.
                                                              10   Boardriders denies the remaining allegations and characterizations in Paragraph 18.
                                                              11         19.    The allegations in Paragraph 19 of the Counterclaim purport to
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                                                              12   characterize the terms of the Policy, which is the best evidence of its content.
                                                              13   Boardriders denies the remaining allegations and characterizations in Paragraph 19.
                                                              14         20.    The allegations in Paragraph 20 of the Counterclaim purport to
                                                              15   characterize the terms of the Policy, which is the best evidence of its content.
                                                              16   Boardriders denies the remaining allegations and characterizations in Paragraph 20.
                                                              17         21.    The allegations in Paragraph 21 of the Counterclaim purport to
                                                              18   characterize the terms of the Policy, which is the best evidence of its content.
                                                              19   Boardriders denies the remaining allegations and characterizations in Paragraph 21,
                                                              20   including GAIC’s characterization of the policy language.
                                                              21         22.    The allegations in Paragraph 22 of the Counterclaim purport to
                                                              22   characterize the terms of the Policy, which is the best evidence of its content.
                                                              23   Boardriders denies the remaining allegations, including GAIC’s characterization of the
                                                              24   policy language.
                                                              25         23.    The allegations in Paragraph 23 of the Counterclaim purport to
                                                              26   characterize the terms of the Policy, which is the best evidence of its content.
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1   Boardriders denies the remaining allegations in Paragraph 23, including GAIC’s
                                                               2   characterization of the policy language.
                                                               3         C.     Boardriders Gives Notice of the Cyber Incident and Ensuing
                                                               4                Communications Between Boardriders and GAIC
                                                               5         24.    Boardriders admits that it provided notice of the ransomware attack to its
                                                               6   cyber insurer, AIG, on October 24, 2019. The remaining allegations in Paragraph 24 of
                                                               7   the Counterclaim discuss confidential information that should not be in a publicly-filed
                                                               8   pleading. On that ground, and to preserve confidentiality, Boardriders denies the
                                                               9   remaining allegations in Paragraph 24.
                                                              10         25.    Boardriders admits that on or around October 28, 2019, Boardriders,
                                                              11   through Specialty Contingency Risks, Inc. (“SCR”), provided notification of the Cyber
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                                                              12   Incident to GAIC. Boardriders denies the remaining allegations in Paragraph 25.
                                                              13         26.    Boardriders denies knowledge or information sufficient to form a belief as
                                                              14   to the truth of the allegations in Paragraph 26 of the Counterclaim. Answering further,
                                                              15   Boardriders avers that neither GAIC nor SCR provided a response to Boardriders’
                                                              16   notice until October 31, 2020.
                                                              17         27.    Boardriders admits the allegations in Paragraph 27. Answering further,
                                                              18   Boardriders avers that due to GAIC’s failure to respond for several days to Boardriders’
                                                              19   notice and requests for a response, Boardriders had retained other vendors to assist it.
                                                              20         28.    Boardriders denies the allegations in Paragraph 28.
                                                              21         29.    Boardriders admits that from October 2019 until June 2020, GAIC
                                                              22   communicated with Boardriders through SCR. Boardriders denies the remaining
                                                              23   allegations in Paragraph 29, including any characterization that SCR or GAIC were
                                                              24   responsive during this time.
                                                              25         30.    Boardriders denies the allegations in Paragraph 30.
                                                              26         31.    Boardriders denies the allegations in Paragraph 31.
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1         32.    Boardriders denies the allegations in Paragraph 32. Answering further,
                                                               2   Boardriders provided its first partial proof of loss, consisting of expenses incurred from
                                                               3   the Cyber Incident and all supporting documentation to SCR on March 5, 2020, not
                                                               4   “early April 2020” and advised that it was still reconciling all invoices that had to be
                                                               5   paid and reserved its right to supplement the proof of loss when additional costs or
                                                               6   expenses became known or invoiced. Boardriders denies the remaining allegations in
                                                               7   Paragraph 32.
                                                               8         33.    Boardriders denies the allegations in Paragraph 33.
                                                               9         34.    Boardriders denies the allegations in Paragraph 34.
                                                              10         D.     Boardriders Engages Coverage Counsel and Eventually Submits a BI
                                                              11                Loss Claim, for Which GAIC Issued a Coverage Opinion and Made
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                                                              12                Substantial Payments
                                                              13         35.    Boardriders admits that on June 12, 2020, coverage counsel sent
                                                              14   Boardriders’ BI Loss claim to GAIC via SCR, which was created by an independent
                                                              15   forensic accounting firm, Crowe. Boardriders admits that it submitted an additional $1.1
                                                              16   million in expenses to supplement its earlier partial proof of loss for such expenses.
                                                              17   Boardriders denies the remaining allegations in Paragraph 35.
                                                              18         36.    Boardriders admits that it sent a letter to GAIC on June 12, 2020. That
                                                              19   letter speaks for itself and is the best evidence of its content. Boardriders denies the
                                                              20   remaining allegations and characterizations in Paragraph 36.
                                                              21         37.    The allegations in Paragraph 37 of the Counterclaim purports to
                                                              22   characterize the content of Boardriders’ June 12, 2020 letter to GAIC, which is the best
                                                              23   evidence of its content. Boardriders denies the allegations and characterizations in
                                                              24   Paragraph 37.
                                                              25         38.    The allegations in Paragraph 38 of the Counterclaim purports to
                                                              26   characterize the content of Boardriders’ June 12, 2020 letter to GAIC, which is the best
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
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                                                               1   evidence of its content. Boardriders denies the allegations and characterizations in
                                                               2   Paragraph 38.
                                                               3         39.    The allegations in Paragraph 39 of the Counterclaim purports to
                                                               4   characterize the content of GAIC’s June 26, 2020 letter to Boardriders, which is the best
                                                               5   evidence of its content. Boardriders denies the allegations and characterizations in
                                                               6   Paragraph 39.
                                                               7         40.    The allegations in Paragraph 40 of the Counterclaim purports to
                                                               8   characterize the content of a series of letters Boardriders sent to GAIC over several
                                                               9   months, which are the best evidence of its content. Boardriders denies the allegations
                                                              10   and characterizations in Paragraph 40.
                                                              11         41.    Boardriders admits that the BI Loss involves multiple divisions of
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                                                              12   Boardriders, worldwide operations, and multiple channels of distribution (wholesale,
                                                              13   retail, e-commerce). Boardriders denies the remaining allegations and characterizations
                                                              14   in Paragraph 41.
                                                              15         42.    Boardriders denies the allegations in Paragraph 42.
                                                              16         43.    Boardriders admits that GAIC paid $2 million in July 2020 and an
                                                              17   additional $500,000 in early September 2020 plus another payment of $175,542.26 for
                                                              18   IT Costs, out of the over $13 million owed by GAIC for BI Loss under its Policy based
                                                              19   on Boardriders submissions in March 2020 and June 2020. Boardriders admits that
                                                              20   GAIC reserved the right to pursue claims against any other insurer that was also
                                                              21   responsible for the losses in issue. Boardriders denies the remaining allegations in
                                                              22   Paragraph 43.
                                                              23         44.    Boardriders admits that on December 23, 2020, GAIC made another
                                                              24   payment of $3.1 million of undisputed covered loss that was owed under the Policy.
                                                              25   Boardriders denies the remaining allegations in Paragraph 44 and specifically denies
                                                              26   that the payment was made subject to a right to recoupment, rather Boardriders, through
                                                              27   counsel, expressly rejected any condition that the payment be made subject to a right to
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1   recoupment. GAIC issued the payment after accepting Boardriders’ rejection of GAIC’s
                                                               2   attempt to reserve its right as to recoupment of any part of that or any other payment.
                                                               3         45.    Boardriders admits the allegations in Paragraph 45 that GAIC has paid
                                                               4   $5.6 million of the $10 million covered BI Loss and $175,542.26 of IT Costs incurred
                                                               5   by Boardriders as a result of the Extortion.
                                                               6         E.     Boardriders Has Failed to Demonstrate its BI Loss is Covered
                                                               7         46.    Boardriders admits the allegations in Paragraph 46 that upon GAIC’s
                                                               8   request, it has sought coverage for a portion of the BI Loss (unpaid by GAIC) from
                                                               9   AIG, however Boardriders has reserved the right to require that GAIC pay those losses,
                                                              10   which are covered under the Policy, should AIG not pay.
                                                              11         47.    Boardriders admits that it repeatedly provided data and information to
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                                                              12   GAIC’s duplicative requests for information that GAIC claimed was necessary to
                                                              13   evaluate Boardriders’ claim and that to date, Boardriders has provided several hundred,
                                                              14   if not thousands of pages, of supporting data including detailed independent forensic
                                                              15   accounting reports, as well as participated on countless calls with GAIC and its
                                                              16   representatives. Boardriders denies the remaining allegations in Paragraph 47.
                                                              17         48.    Boardriders admits that on May 21, 2021, it submitted a revised BI Loss
                                                              18   claim, increasing its total claimed business interruption losses by over $1.4 million in
                                                              19   response to questions raised by GAIC’s accountants about the scope of losses and the
                                                              20   number of stores implicated. With that submission, Boardriders’ independent forensic
                                                              21   accountants provided an extremely detailed report explaining the reasons for the
                                                              22   increase, the methodology, and all available supporting information. Boardriders denies
                                                              23   the remaining allegations in Paragraph 48.
                                                              24         49.    Boardriders denies the allegations in Paragraph 49.
                                                              25         50.    The allegations in Paragraph 50 of the Counterclaim purports to
                                                              26   characterize correspondence GAIC sent to Boardriders on September 24, 2021, which
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                               1   was another harassing and unreasonable letter, which is the best evidence of its content.
                                                               2   Boardriders denies the allegations and characterizations in Paragraph 50.
                                                               3         51.    Boardriders denies the allegations in Paragraph 51.
                                                               4         52.    Boardriders denies the allegations in Paragraph 52.
                                                               5         53.    Boardriders admits the footnote stating that it organizes its financial
                                                               6   reporting by three revenue streams, or “channels” – Retail, Wholesale, and Ecommerce,
                                                               7   grouped into three major geographic regions – AMS (North, South, and Central
                                                               8   America), EMEA (Europe, Middle East, and Africa), and APAC (Asia-Pacific,
                                                               9   including Australia and New Zealand). Boardriders denies the remaining allegations
                                                              10   and characterizations in Paragraph 53.
                                                              11         54.    Boardriders denies the allegations and characterizations in Paragraph 54.
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                                                              12         55.    Boardriders denies the allegations and characterizations in Paragraph 55
                                                              13   and states that it is without knowledge to adequately respond to the numerous subparts
                                                              14   of this paragraph and the many footnotes linking to external sources.
                                                              15         56.    Paragraph 56 includes an allegation that states a legal conclusion for which
                                                              16   no response is required. To the extent a response is required, Boardriders denies that
                                                              17   and the remaining allegations and characterizations in Paragraph 56.
                                                              18         57.    Boardriders denies the allegations and characterizations in Paragraph 57.
                                                              19         58.    Boardriders denies the allegations and characterizations in Paragraph 58.
                                                              20                                          COUNT I
                                                              21       (DECLARATORY RELIEF – NO BUSINESS INTERRUPTION LOSS)
                                                              22         59.    Boardriders incorporates its responses to the allegations in Paragraphs 1
                                                              23   through 58 of the Counterclaim as if the same had been fully set forth herein at length.
                                                              24         60.    Boardriders admits the allegations in Paragraph 60. Answering further,
                                                              25   Boardriders refers the Court to the Policy itself, which is the best evidence of the terms
                                                              26   and conditions of the Policy.
                                                              27
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                              1          61.    The allegation in Paragraph 61 states a legal conclusion for which no
                                                              2    response is required. To the extent a further response is required, Boardriders denies the
                                                              3    allegations in Paragraph 61.
                                                              4          62.    Boardriders denies the allegations in Paragraph 62.
                                                              5          63.    Boardriders denies the allegations in Paragraph 63.
                                                              6          64.    Boardriders denies the allegations in Paragraph 64.
                                                              7          65.    Boardriders admits the allegations in Paragraph 65.
                                                              8          66.    Boardriders denies the allegations in Paragraph 66.
                                                              9                                          COUNT II
                                                              10          (DECLARATORY RELIEF – BILLABONG NOT AN ASSURED)
                                                              11         67.    Boardriders incorporates its responses to the allegations in Paragraphs 1
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                                                              12   through 66 of the Counterclaim as if the same had been fully set forth herein at length.
                                                              13         68.    Boardriders admits the allegations in Paragraph 68. Answering further,
                                                              14   Boardriders refers the Court to the Policy itself, which is the best evidence of the terms
                                                              15   and conditions of the Policy.
                                                              16         69.    The allegation in Paragraph 69 states a legal conclusion for which no
                                                              17   response is required. To the extent a further response is required, Boardriders denies the
                                                              18   allegations in Paragraph 69.
                                                              19         70.    Boardriders denies the allegations in Paragraph 70.
                                                              20         71.    Boardriders denies the allegations in Paragraph 71.
                                                              21         72.    Boardriders denies the allegations in Paragraph 72.
                                                              22         73.    Boardriders admits the allegations in Paragraph 73.
                                                              23         74.    Boardriders denies the allegations in Paragraph 74.
                                                              24                                         COUNT III
                                                              25                                   (REIMBURSEMENT)
                                                              26         75.    Boardriders incorporates its responses to the allegations in Paragraphs 1
                                                              27   through 74 as though fully set forth herein at length.
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
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                                                              1          76.   Boardriders admits that GAIC has paid millions of dollars to Boardriders
                                                              2    under the Policy as reimbursement for its claimed and covered BI Loss arising from the
                                                              3    Cyber Incident out of the over $10 million covered and claimed BI Loss owed under
                                                              4    the Policy. Boardriders denies the remaining allegations in Paragraph 76.
                                                              5          77.   Boardriders admits that GAIC’s payments included a $3.1 million payment
                                                              6    of undisputed loss owed on December 23, 2020. Boardriders expressly denies the
                                                              7    remaining allegations and characterizations in Paragraph 77.
                                                              8          78.   Boardriders denies the allegations in Paragraph 78.
                                                              9          79.   Boardriders denies the allegations in Paragraph 79.
                                                              10                                  PRAYER FOR RELIEF
                                                              11         80.   Boardriders further denies all alleged damages in the WHEREFORE
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                                                              12   clause of the Counterclaim.
                                                              13                                 AFFIRMATIVE DEFENSES
                                                              14         Boardriders asserts the following affirmative and other defenses. In asserting
                                                              15   these defenses, Boardriders does not assume the burden of proof related to any issue as
                                                              16   to which the applicable law would otherwise place with GAIC or any other party.
                                                              17                           FIRST AFFIRMATIVE DEFENSE
                                                              18         GAIC has waived and/or is estopped from seeking reimbursement or recoupment
                                                              19   of the covered loss paid by GAIC because (1) GAIC has no such right in the Policy or
                                                              20   at common law; and (2) Boardriders asserted in writing that it would not accept
                                                              21   payments subject to any right to recoupment, yet GAIC still issued payment after
                                                              22   recognition of Boardriders’ refusal to agree to any purported right to recoupment.
                                                              23                         SECOND AFFIRMATIVE DEFENSE
                                                              24         GAIC is barred from denying coverage for the Cyber Incident and/or seeking
                                                              25   reimbursement or recoupment, based on the doctrine of laches, because GAIC’s
                                                              26   unreasonable delay in responding to Boardriders’ requests for coverage and delay in
                                                              27   issuing payment for covered loss has prejudiced Boardriders.
                                                              28
                                                                                                             10
                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                              1                            THIRD AFFIRMATIVE DEFENSE
                                                              2          GAIC is barred from denying coverage for the Cyber Incident and/or seeking
                                                              3    reimbursement or recoupment, based on the doctrine of accord and satisfaction, because
                                                              4    Boardriders asserted in writing that it would not accept payment subject to any right to
                                                              5    recoupment, and that GAIC’s payment represented payment for undisputed covered
                                                              6    loss that was owed. Yet, GAIC still issued payment after recognition of Boardriders’
                                                              7    refusal to agree to any purported right to recoupment.
                                                              8                           FOURTH AFFIRMATIVE DEFENSE
                                                              9          GAIC has materially breached its obligations under the Policy by refusing to
                                                              10   honor its obligation to provide coverage for Boardriders’ total covered loss.
                                                              11                           FIFTH AFFIRMATIVE DEFENSE
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                                                              12         GAIC’s claims are barred, in whole or in part, because at all times material to
                                                              13   this suit, SCR intended to be and was the agent for GAIC and GAIC intended SCR to
                                                              14   be its agent, as set forth in the policy documents, such that GAIC is bound by SCR’s
                                                              15   actions, conduct, and communications with respect to Boardriders’ claim.
                                                              16                           SIXTH AFFIRMATIVE DEFENSE
                                                              17         GAIC is barred from denying coverage for the Cyber Incident and/or seeking
                                                              18   reimbursement or recoupment because GAIC acted in bad faith, breaching the implied
                                                              19   covenant of good faith and fair dealing with its unreasonable delay in responding to
                                                              20   Boardriders’ requests for coverage and conscious and deliberate delay in issuing
                                                              21   payment for Boardriders’ covered loss.
                                                              22                         SEVENTH AFFIRMATIVE DEFENSE
                                                              23         GAIC is barred from denying coverage for the Cyber Incident and/or seeking
                                                              24   recoupment because it has not complied with and has thus violated California Insurance
                                                              25   Code sections 790.03(h) in that it (1) failed to acknowledge and act reasonably and
                                                              26   promptly after receiving communications about Boardriders’ claim (CACI No.
                                                              27   2337(a)); (2) failed to acknowledge receipt of and accept or deny coverage within a
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
                                                                                             COUNTERCLAIMS TO COMPLAINT
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                                                              1    reasonable time after receipt of Boardriders’ proof of loss (CACI No. 2337(d)); (3)
                                                              2    repeatedly requested the same information previously provided to it (CACI No.
                                                              3    2337(k)); and (4) failed to provide a reasonable explanation of its reasons for not
                                                              4    providing a coverage position or any reasons for denying coverage or for compromise
                                                              5    amounts (CACI No. 2337(m)).
                                                              6                           EIGHTH AFFIRMATIVE DEFENSE
                                                              7          GAIC is barred from denying coverage for the Cyber Incident and/or seeking
                                                              8    recoupment because it failed to act promptly in communication with Boardriders and
                                                              9    has failed to follow the timelines set forth in the California Code of Regulations, Title
                                                              10   10, § 2695.7(b)-(e).
                                                              11                           NINTH AFFIRMATIVE DEFENSE
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                                                              12         GAIC is barred from seeking reimbursement or recoupment from Boardriders
                                                              13   because the terms and conditions of the Policy do not entitle GAIC to such relief.
                                                              14                           TENTH AFFIRMATIVE DEFENSE
                                                              15         GAIC’s claims are barred, in whole or in part, because of GAIC’s failure to
                                                              16   preserve Boardriders’ confidential information related to the Cyber Incident.
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
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                                                                        ANSWER AND AFFIRMATIVE DEFENSES TO GREAT AMERICAN INSURANCE COMPANY’S
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